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                                          .
                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


   PAUL EDWARDS,
   GERRY WENDROVSKY,
   SANDRA DESROSIERS, and
   LINDA SOFFRON, on behalf of themselves
   and all others similarly situated,
       Plaintiffs,

      v.                                                 No. 3:14-cv-01714 (VAB)

   NORTH AMERICAN POWER & GAS, LLC,
      Defendants.


                                    RULING AND ORDER

       Paul Edwards, on behalf of himself and all persons similarly situated (collectively

“Plaintiffs”), filed the initial Class Action Complaint, alleging that North American Power &

Gas, LLC (“NAPG” or “Defendant”) falsely advertised low rates in order to induce customers

into switching their energy provider. Plaintiffs claim that NAPG expressly breached its contracts

with class members, as well as the covenant of good faith and fair dealing, by allegedly

advertising its variable rates would fluctuate with the market but failing to do so. See Second

Am. Compl. ¶¶ 65 –76, ECF No. 63. Additionally, several of the plaintiffs allege violations of

the Connecticut Unfair Trade Practices Act (CUTPA) on behalf of a putative sub-class.

       Following settlement discussions between the parties in this action and those pending

elsewhere, the parties reached a settlement under which they intend to resolve five cases

involving NAPG’s alleged misrepresentations. See generally Class Action Settlement Agreement

(“Settlement Agreement”), ECF No. 116-1. The proposed settlement would involve the claims of


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class members in eleven states for breach of contract and alleged violation of state consumer

protection laws. After notifying the Court of the proposed settlement, Plaintiffs moved for

preliminary approval on January 16, 2018. ECF No. 114. The Court granted preliminary

approval on March 30, 2018. See Order, ECF No. 126.

       Plaintiffs now move for final approval of the class action settlement. See Pls. Mot. for

Final Approval of Class Action Settlement, ECF No. 130. They seek the following:

       1. certification of the settlement class;

       2. appointment of Plaintiffs as representatives of the class;

       3. appointment of their lawyers as class counsel;

       4. approval of the Class Action Settlement; and,

       5. approval of their proposed attorneys’ fees and expenses.

Id. at 1-2. The Court took the motion under advisement at a final fairness hearing, held on

August 1, 2018. See Min. Entry, ECF No. 132.

       Upon reviewing the Settlement Agreement, all the filings submitted in connection with

the motion, and the information presented at the hearing, the motion is GRANTED.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       This settlement agreement seeks global resolution of several different putative class

actions, currently pending against NAPG in this Court and elsewhere.

       A.      The Edwards Action

       Mr. Edwards filed the initial Complaint in this lawsuit on November 18, 2014, as the sole

named plaintiff. See Compl., ECF No. 1. He sought to bring the lawsuit “on behalf of himself

and all class of all similarly situated customers . . . in Connecticut, Rhode Island, New




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Hampshire, and Maine, arising out of [NAPG’s] unfair, deceptive, unconscionable and bad faith

billing . . . .” Id. ¶ 2.

         NAPG moved to dismiss the complaint. The Court granted the motion in part. See Ruling

on Motion to Dismiss, ECF No. 39. The Court found that Mr. Edwards lacked standing to bring

claims under Maine’s Unfair Trade Practices Act, New Hampshire’s Consumer Protection Act,

and Rhode Island’s Unfair Trade Practice and Consumer Protection Act. Id. at 2. The Court

denied the motion to dismiss as to the CUTPA claims and the breach of the covenant of good

faith and fair dealing. Id. The dismissal of the other claims was without prejudice, and Edwards

subsequently moved to amend the complaint.

         The Second Amended Complaint was filed on June 3, 2016. See Second Am. Compl.

(“SAC”), ECF No. 63. The Second Amended Complaint was filed on behalf of Edwards (a

Connecticut citizen), Gerry Wendrovsky (a citizen of New York who owns property in

Connecticut), Sandra Desrosiers and Linda Soffron (both citizens of New Hampshire). SAC ¶¶

8–12. They allege that North American Power was an electric supplier, purchasing power on the

wholesale market and selling it to consumers. Id. ¶ 21. They allege that NAPG charged a low

promotional rate, fixed for several months, which then changed to a variable rate following the

end of the introductory period. Id. ¶ 24. NAPG allegedly represented that the variable rate

following the introductory rate would be based on the wholesale market rate, id. ¶ 25; instead,

Plaintiffs claim NAPG “increase[ed] the rates charged to class members when wholesale prices

rose” and kept rates “at a level as much as double, triple or quadruple the wholesale market

rates when the wholesale prices fell.” Id. ¶ 31 (emphasis in original).

         Plaintiffs argue that this pricing scheme represents a breach of the contracts signed

between themselves and NAPG, id. ¶¶ 65–68, as well as a breach of the implied convenant of



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good faith and fair dealings. Id. ¶¶ 69–76. They allege these violations on behalf of a class of

those similarly situated in Connecticut and New Hampshire. Id. ¶ 54. Additionally, the plaintiffs

seek to certify a subclass of NAPG’s Connecticut customers, alleging violations of the

Connecticut Unfair Trade Practices Act (CUTPA). Id. ¶¶ 55, 77-84.

       Discovery began, and Plaintiffs moved for class certification on May 24, 2017. See Pls.

Mot. Class Certification, ECF No. 82. Before the Court could rule on the motion, however, both

NAPG and the Plaintiffs moved to stay the proceedings. See Def. Mot. to Stay, ECF No. 98. The

motion stated that “the Parties have agreed to a global mediation” to attempt to resolve several

similar matters pending against NAPG, including the Edwards matter. Id. at 1. The Court granted

a stay. Order, ECF No. 99.

       On October 31, 2017, the parties informed the Court they were unable to reach a

settlement. See Joint Status Report, ECF No. 102. The Court lifted the stay, Order, ECF No. 103,

and NAPG moved for summary judgment. See Def. Mot. Summ. J., ECF No. 105.

       B.      Other Actions

       The Edwards action is not the only case pending that involves NAPG’s alleged

misconduct. Three similar lawsuits are currently pending in the District of Connecticut. Arcano

v. North American Power & Gas, LLC, No. 3:16-cv-1921-WWE (D. Conn. filed October 31,

2016) (“Arcano Action”); Tully v. North American Power & Gas, LLC, No. 15-cv-00469-WWE

(D. Conn. filed March 31, 2015) (“Tully Action”); Fritz v. North American Power & Gas, LLC,

No. 3:14-cv-0634-WWE (D. Conn. filed May 6, 2014) (“Fritz Action”). In addition, another case

is currently pending in the Northern District of Illinois, Zahn v. North American Power & Gas,

LLC, No. 14-cv-8370 (N.D. Ill., filed October 24, 2014) (“Zahn Action”) and the Southern




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District of New York. Claridge v. North American Power & Gas, LLC, 15-cv-1261 (PKC)

(S.D.N.Y. filed February 20, 2015) (“Claridge Action”).

       The Fritz Action involves alleged violations of New Jersey’s Consumer Fraud Act, as

well as contractual claims. The Tully Action involves alleged violations of the Rhode Island

Deceptive Trade Practices Act, the New Jersey Consumer Fraud Act, the Maryland Consumer

Protection Act, the Connecticut Unfair Trade Practices Act, the Maine Unfair Trade Practices

Act, the New Hampshire Consumer Protection Act, the Georgia Fair Business Practices Act, the

Ohio Consumer Sales Practices Act, the Pennsylvania Unfair Trade Practices and Consumer

Protection Law, and the Texas Deceptive Trade Practices Act, among other state law claims. The

Arcano action involves alleged violations of the Rhode Island Unfair Trade Practices and

Consumer Protection Act, as well as contractual claims. The Tully and Fritz cases were

consolidated on June 23, 2015. The Arcano case was originally consolidated on June 20, 2016.

The court formally severed the Arcano case from the other two, but stayed it on request of the

parties pending the resolution of the Tully and Fritz actions. The court then stayed the

consolidated Tully and Fritz actions pending settlement negotiations, and then administratively

closed the cases.

       The Claridge Action, filed on behalf of New York consumers, alleged violations of New

York’s deceptive trade practices law. See Claridge v. N. Am. Power & Gas, LLC, No. 15-cv-

1261 (PKC), 2016 WL 7009062, at *1 (S.D.N.Y. Nov. 30, 2016). On November 30, the court in

Claridge certified a class of “all New York North American Power & Gas, LLC customers who

paid North American Power & Gas, LLC's variable rate” on or after February 20, 2012. Id. The

parties in Claridge also sought the court’s preliminary approval of a settlement that would

resolve all the pending NAPG actions and certify a nation-wide class of NAPG customers. The



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court rejected that proposal, but approved a later settlement agreement pertaining to New York

customers. See Order, Claridge v. N. Am. Power & Gas, LLC, No. 15-cv-1261 (PKC), ECF No.

139 (S.D.N.Y. March 13, 2018).

       The Zahn Action appears to assert causes of action on behalf of Illinois consumers. Pls.

Mem. at 6. The district court initially granted NAPG’s motion to dismiss, but, on appeal, the

Seventh Circuit chose to certify a question to the Illinois Supreme Court and requested that the

court determine if the Illinois Commerce Commission (“ICC”) would have exclusive jurisdiction

over the claim. Id. The Illinois Supreme Court held that the ICC did not have exclusive

jurisdiction and the Seventh Circuit then reversed the district court decision. The Zahn Action is

currently stayed pending approval of the settlement at issue here. Id.

       C.      Settlement Agreement

       On December 20, 2017, the parties informed the Court at a telephonic status conference

that they had reached a preliminary agreement to settle the case. See Order, ECF No. 113.

Plaintiffs then moved for preliminary settlement approval. See Pls. Mot. for Prelim. Approval,

ECF No. 114.

       In their filing, Plaintiffs noted that the parties began discussing settlement of the Fritz

Action in 2015. Pls. Mem. in Supp. (“Pls. Preliminary Certification Mem.") at 7, ECF No. 115.

The parties attempted mediation in December 2015 and, again in February 2016, but neither

resulted in a settlement. Id. In February 2017, they tried again, unsuccessfully, to mediate a

settlement. Id. Likewise, the Edwards Action went to mediation a month later and the parties

also were unsuccessful. Id.

       On June 27, 2017, the parties appeared to reach a settlement for the Fritz and Claridge

cases, and sought preliminary approval in the Southern District of New York, where Claridge



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was then pending. Id. at 8. Edwards counsel opposed; the Court ultimately denied the motion for

preliminary approval. Id. Finally, the parties in all actions agreed to mediate jointly and, after

two mediation sessions, entered into a settlement on January 16, 2018. Id.; see also Class Action

Settlement Agreement (“Settlement Agreement”), ECF No. 116-1.

       The settlement seeks to resolve five separate cases: Edwards v. North American Power &

Gas, No. 3:14-cv-01724 (D. Conn. filed November 18, 2014); Arcaro v. North American Power

& Gas, LLC, No. 3:16-cv01921-WWE (D. Conn. filed October 31, 2016); Tully v. North

American Power & Gas, LLC, No. 15-cv-00469-WWE (D. Conn. filed March 31, 2015); Fritz v.

North American Power & Gas, LLC, No. 3:14-cv-0634-WWE (D. Conn. filed May 6, 2014); and

Zahn v. North American Power & Gas, LLC, No. 14-cv-8370 (N.D. Ill., filed February 20,

2015). See Settlement Agreement § I.

       The parties stated that they “recognize and acknowledge the benefits of settling these

cases,” id. ¶ 1.5, and defined the class as “all Persons who were NAPG Variable Rate Customers

during the Class Period in Connecticut, Illinois, Maryland, Maine, New Hampshire, New Jersey,

Ohio, Pennsylvania, Rhode Island, Georgia or Texas.” Settlement Agreement ¶ 2.11. The class

period is defined as between February 20, 2012 through June 5, 2017. Id. ¶ 2.13. The settlement

agreement sets out a series of procedures for its approval, and noted that, while a class should be

certified for settlement purposes, Defendants would reserve the right to challenge class

certification, if the Court denied preliminary approval of the agreement. Id. § IV.

       The agreement provides that NAPG customers who properly file a claim will be given

$0.00351 per kilowatt hour, if they are variable rate customers receiving electric supply or

$0.0195 per therm, if they receive natural gas supply, with a minimum benefit of $2.00. Id. ¶ 5.1.

The total benefit, however, “payable by NAPG shall be subject to a $16,053,000 cap. In the



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event that the value of the benefits claimed exceeds $16,053,000, the benefit payable to each

NAPG Variable Rate Customer will be reduced pro rata based on the individual’s electric supply

and/or natural gas supply use while on a variable rate plan.” Id. Named plaintiffs would receive

up to $5,000 as class representatives, and attorney’s fees would be capped at $3,699,000. Id. ¶

7.5.

        Parties also agreed to release claims, defined as:

               any and all claims, demands, rights, damages, obligations, suits,
               debts, liens, contracts, agreements, judgments, expenses, costs,
               liabilities, and causes of action of every nature and description,
               including claims for attorneys’ fees, expenses and costs, whether
               known or unknown, suspected or unsuspected, existing now or
               arising in the future that (a) is or are based on any act, omission,
               inadequacy, misstatement, representation, harm, matter, cause or
               event whatsoever that has occurred at any time from the beginning
               of time up to and including the end of the Class Period and (b) arise
               from or are related in any way to this lawsuit or class action.

Id. ¶ 2.34.

        D.     Preliminary Approval of the Settlement Agreement

        Following the initial motion for preliminary approval, the Court held a hearing on

January 29, 2018. See Min. Entry, ECF No. 118. The Court requested supplemental briefing

addressing three questions:

               1.      Does the Court have jurisdiction to approve a class action
                       settlement that addresses the state law claims of states where
                       the named representatives may lack standing to bring those
                       claims?
               2.      If the Court possesses jurisdiction, can the named
                       representatives fairly and adequately protect the interests of
                       class members from other states and whose claims would be
                       subject to state laws different from that of the named
                       representatives? See Fed. R. Civ. P. 23(a)(4).
               3.      Do the statutory and contractual state law claims included
                       under the settlement "differ in a material manner that
                       precludes the predominance of common issues" under Fed.
                       R. Civ. P. 23(b)(3)? See In re U.S. Foodservice Inc. Pricing
                       Litigation, 729 F.3d 108, 127 (2d Cir. 2013).

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See Order, ECF No. 119.

        The Court then granted preliminary approval on March 30, 2018. See Ruling and Order,

ECF No. 126. In response to its initial questions, the Court found that “preliminary certification

is appropriate because claims here would ‘focus predominantly [sic] on common evidence’ to

determine whether NAPG was liable and rest on breach of contract claims where there is not

significant variation.” Id. at 10 n.2 (quoting In re U.S. Foodservice Inc. Pricing Litig., 729 F.3d

108, 125 (2d Cir. 2013)). The Court held that, for the purposes of preliminary approval, the class

met the requirements of Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure. Id. at 11-

12. The Court appointed the named plaintiffs as representatives of the settlement class and their

counsel as class counsel. Id. at 13.

        The Court granted preliminary approval of the Settlement Agreement’s terms, while

noting that preliminary approval required only at most “a determination that there is what might

be termed ‘probable cause’ to submit the proposal to class members and hold a full-scale hearing

as to its fairness,” Id at 13–14 (quoting Menkes v. Stolt-Nielsen S.A., 270 F.R.D. 80, 101 (D.

Conn. 2010)). The Court held that the proposed settlement met both the substantive and

procedural requirements. Id. at 16.

        The Court also approved the form and content of the notice to be provided to the class,

set a schedule for final approval and the date of the final fairness hearing. Id. 16–18. Finally, it

also approved a claims administration plan and procedure through which class members could

opt-out. Id. at 18.

        E.      Notice to the Class

        The parties engaged Heffler Claims Group (“Heffler”), a third party, to administer notice

of the settlement to the class. See Decl. of Joseph F. Mahan (“Mahan Decl.”), ECF No. 130-7.



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Heffler identified 491,126 unique records from a list of 531,847 class members provided by the

parties.1 Mahan Decl. ¶ 5. Heffler then mailed postcards to the 491,126 identified class members.

The postcard directed class members to the website or Heffler for more information, and

provided information on how to submit a written request for exclusion. Id. ¶ 10. The postcard

also stated that exclusions, objections, and claim forms must be post-marked or submitted by

June 26, 2018. Id. Additionally, Heffler conducted additional research on any notices identified

by the USPS as undeliverable. Id. ¶ 13. Heffler then sent a second, identical postcard to any

updated addresses identified. Id.

          On April 3, 2018, Heffler also published the Settlement Agreement, notice, claim forms,

and other case documents to a dedicated website available to the public at

www.electricityandgassettlement.com. The website explained the litigation and the settlement, as

well as the on-line claim form submission process. Id. ¶ 9.

          Heffler also set up a toll-free number, providing class members with general information

about the litigation, the settlement, and the claim form process. Id. ¶ 7.

Finally, under the Class Action Fairness Act, 28 U.S.C. § 1711, et. seq. (“CAFA”), the parties

also sent a letter, on January 26, 2018, to the United States Attorney General and fifty-one states

and territories. Id. ¶ 6. The notice provided a copy of the Complaint, notice of a hearing, copies

of the notice forms, the proposed settlement, and the class definition. See 28 U.S.C. § 1715(b)

(listing requirements).




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    Heffler identified 40,721 as duplicate records. Mahan Decl. ¶ 5.
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       F.       The Final Claims

       Plaintiffs now move for approval of the class settlement. They summarize the final results

as of June 8, 2018. See Pls. Mem. at 18. A total of 16,8902 claims have been submitted and the

average claimant will receive $50:

               Approximately 4,700 will receive between $2.00 and $9.99;

               Approximately 4,500 will receive between $10.00 and $29.99;

               Approximately 2,900 will receive between $30.00 and $49.99;

               Approximately 2,400 class members will receive over $100; and,

               Approximately 200 class members will receive over $300.

Id.

       Additionally, no claimant has objected, and only seventeen plaintiffs opted out of the

settlement. Status Report ¶ 2.

II.    STANDARD OF REVIEW

       Rule 23(e) requires that “[t]he claims, issues, or defenses of a certified class may be

settled, voluntarily dismissed, or compromised only with the court's approval.” Fed. R. Civ. P.

23(e). Thus, “[b]efore reaching the merits of the proposed settlement,” this Court “must first

ensure that the settlement class, as defined by the parties, is certifiable under the standards of

Rule 23(a) and (b).” Bourlas v. Davis Law Assocs., 237 F.R.D. 345, 349 (E.D.N.Y. 2006); see

also Denney v. Deutsche Bank AG, 443 F.3d 253, 270 (2d Cir. 2006) (holding that Rule 23(a)

and (b) analysis is independent of Rule 23(e) fairness review).




2
 In their most current status report, Plaintiffs state that there were 20,862 claims filed as of July
23, 2018. See Pls. Status Report ¶ 3.
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        “Rule 23(a) states four threshold requirements applicable to all class actions: (1)

numerosity (a ‘class [so large] that joinder of all members is impracticable’); (2) commonality

(‘questions of law or fact common to the class'); (3) typicality (named parties' claims or defenses

‘are typical ... of the class'); and (4) adequacy of representation (representatives ‘will fairly and

adequately protect the interests of the class').” Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

613 (1997) (quoting Fed. R. Civ. P. 23(a)). “In addition to satisfying Rule 23(a)'s prerequisites,

parties seeking class certification must show that the action is maintainable under Rule 23(b)(1),

(2), or (3).” Id. at 614.

        These requirements apply equally to “conditional certification of a class for settlement

purposes.” Cohen v. J.P. Morgan Chase & Co., 262 F.R.D. 153, 157 (E.D.N.Y. 2009); see also

Reade-Alvarez v. Eltman, Eltman & Cooper, P.C., 237 F.R.D. 26, 31 (E.D.N.Y. 2006)

(“Certification of a class for settlement purposes only is permissible and appropriate, provided

these [Rule 23(a) and (b) ] standards are met.”). The settlement-only class certification inquiry

requires this Court to “demand undiluted, even heightened, attention in the settlement context” to

Rule 23’s “specifications . . . designed to protect absentees by blocking unwarranted or

overbroad class definitions.” Amchem Prods., Inc., 521 U.S. at 620.

III.    DISCUSSION

        Plaintiffs now move for final approval of the settlement agreement and seek the

following: (1) the certification of the class for settlement purposes; (2) the approval of the

settlement as procedurally and substantively fair, reasonable and adequate; (3) the appointment

of the named Plaintiffs as representatives of the class and their counsel as class counsel; (4) the

approval of service awards for the named Plaintiffs; and (5) the award of fees and costs to the

class counsel.



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       A.      Certification Settlement Class for Settlement Purposes

       As addressed above, the settlement-only class certification inquiry requires this Court to

“demand undiluted, even heightened, attention in the settlement context” to Rule 23’s

“specifications . . . designed to protect absentees by blocking unwarranted or overbroad class

definitions.” Amchem Prods., Inc., 521 U.S. at 620. As a result, the Court must ensure that the

class meets the requirements of Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure.

        Rule 23(a) of the Federal Rules of Civil Procedure requires that any putative class be “so

numerous that joinder of all members is impracticable;” that “there are questions of law or fact

common to the class;” that the representative parties and their claims and defenses are typical of

the class as a whole; and that “the representative parties will fairly and adequately protect the

interests of the class.” Additionally, under Rule 23, the class must be ascertainable. In re Initial

Pub. Offerings Sec. Litig., 471 F.3d 24, 30, 44–45 (2d Cir. 2006).

       Finally, Rule 23(b)(3) of the Federal Rules of Civil Procedure requires that, before

certifying a class, a court must find “that the questions of law or fact common to class members

predominate over any questions affecting only individual members, and that a class action is

superior to other available methods for fairly and efficiently adjudicating the controversy.”

               1.      Numerosity

       In order to certify any class under Rule 23, the class must be “so numerous that joinder of

all members is impracticable.” Fed. R. Civ. P. 23(a)(1). Here, the class includes approximately

490,000 class members, Pls. Mem. at 4, satisfying the numerosity requirement of Rule 23(a)(1).

See, e.g., Consol. Rail Corp. v. Town of Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995) (“Because

numerosity is presumed at a level of 40 members . . . whether viewed as 700 tax-collecting




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jurisdictions or 300 assessing jurisdictions, the number of defendants vastly exceeds this

threshold. Numerosity is therefore satisfied.”).

               2.      Commonality

       Rule 23(a)(2) of the Federal Rules of Civil Procedure requires that there be “questions of

law or fact common to the class.” As the Supreme Court has held:

               Commonality requires the plaintiff to demonstrate that the class
               members have suffered the same injury. This does not mean merely
               that they have all suffered a violation of the same provision of law.
               . . . Their claims must depend upon a common contention — for
               example, the assertion of discriminatory bias on the part of the same
               supervisor of such a nature that it is capable of classwide resolution
               — which means that determination of its truth or falsity will resolve
               an issue that is central to the validity of each one of the claims in
               one stroke.

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349–50 (2011) (internal citations and quotations

omitted).

       Here, Plaintiffs have established common questions of law and fact, regarding whether

NAPG advertised misleading and deceptive rates, as well as whether NAPG failed to offer

customers rates consistent with their contracts. Finally, there are common issues of evidence and

proof that would ensure that “determination of its truth or falsity will resolve an issue that is

central to the validity of each one of the claims in one stroke.” Id. at 350.

               3.       Typicality

       “Generally speaking, typicality determines whether a sufficient relationship exists

between the injury to the named plaintiff and the conduct affecting the class so that the court

may properly attribute a collective nature to the challenged conduct.” 1 Newberg on Class

Actions § 3:29 (5th ed.). In the Second Circuit, “Rule 23(a)(3)'s typicality requirement is

satisfied when each class member's claim arises from the same course of events and each class



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member makes similar legal arguments to prove the defendant's liability.” Robidoux v. Celani,

987 F.2d 931, 936 (2d Cir. 1993).

       Here, Defendant’s conduct was “directed at or affected both the named plaintiff and the

class sought to be represented.” Id. at 936–937. NAPG made certain representation that its rates

would be a market based variable rate; Plaintiffs allege that these representations were false and

misleading, both to them and to class members. Pls. Preliminary Certification Mem. at 20-21.

The Court therefore holds that the Plaintiffs meet Rule 23(a)(3)’s typicality requirements.

               4.      Adequacy of Representative

       In order to certify a class, Rule 23(a)(4) requires that “the representative parties will

fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “Adequacy is

twofold: the proposed class representative must have an interest in vigorously pursuing the

claims of the class, and must have no interests antagonistic to the interests of other class

members.” Denney v. Deutsche Bank AG, 443 F.3d 253, 268 (2d Cir. 2006). Additionally, courts

often examine whether proposed class counsel are qualified.

       Both requirements are met here. No conflict between and among the representatives of

the class has been identified. Throughout the litigation, Plaintiffs have appeared to represent the

interests of their fellow class members. The plaintiffs also have vigorously pursued the claims of

the class. See Izard Decl. ¶ 12, ECF No. 130-2.

       Additionally, class counsel is competent. See 1 Newberg on Class Actions § 3:54 (5th

ed.) (“Adequacy of counsel asks whether the attorneys who seek to represent the class are

competent to do the job.”). Each firm has extensive experience litigating class actions and

representing named plaintiffs. See Izard, Kindall & Raabe LLP Firm Resume, Robert Izard Decl.

Ex. A, ECF No. 130-2; Finkelstein, Blankinship, Frei-Pearson & Garber, LLP Firm Resume,



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Blankinship Decl., ECF No. 130-3; Mazie Slater Katz & Freeman, LLC Firm Resume,

Mendelsohn Decl., ECF No. 130-5. And, as this Court has previously recognized, “Class

Counsel in this case is comprised of attorneys and law firms that are national leaders in class

action litigation . . . .” Kemp-DeLisser v. Saint Francis Hosp. & Med. Ctr., No. 15-cv-1113

(VAB), 2016 WL 6542707, at *16 (D. Conn. Nov. 3, 2016)

               5.      Ascertainability

       The Second Circuit has “‘recognized an implied requirement of ascertainability in Rule

23,’ which demands that a class be ‘sufficiently definite so that it is administratively feasible for

the court to determine whether a particular individual is a member.’” In re Petrobras Sec., 862

F.3d 250, 260 (2d Cir. 2017) (quoting Brecher v. Republic of Argentina, 806 F.3d 22, 24 (2d Cir.

2015) (internal quotation marks and citations omitted). As addressed at preliminary approval, the

class is defined solely with reference to objective criteria. It is also feasible to determine class

membership during the Class Period: NAPG has maintained identifying information—names,

addresses, and the number of bills received—for all of its customers who purchased electricity or

natural gas.

               6.      Predominance and Superiority under Rule 23(b)(3)

       Plaintiffs seek certification under Rule 23(b)(3). See Preliminary Settlement Approval

Order at 10. In order to certify a (b)(3) class, a court must find that “that the questions of law or

fact common to class members predominate over any questions affecting only individual

members, and that a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

       “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.” Amchem, 521 U.S. at 623. “Predominance is



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satisfied ‘if resolution of some of the legal or factual questions that qualify each class member's

case as a genuine controversy can be achieved through generalized proof, and if these particular

issues are more substantial than the issues subject only to individualized proof.’” Roach v. T.L.

Cannon Corp., 778 F.3d 401, 405 (2d Cir. 2015) (quoting In re U.S. Foodservice Inc. Pricing

Litig., 729 F.3d at 118.).

        The class at issue here asserts a variety of state law claims but, primarily, rests on breach

of contract claims. While claims arising under different contracts and the contract law provisions

of different states might overwhelm the common questions of law or fact, the Second Circuit has

concluded that breach of contract classes may be maintained under Rule 23(b)(3). See In re U.S.

Foodservice Inc. Pricing Litig., 729 F.3d 108, 125 (2d Cir. 2013). The class in In re U.S.

Foodservice sought to bring a multi-state action, and Defendant challenged certification by

arguing that resolving the claims would involve individual inquiries into the contracts, as well as

variation in the law of each of the states where the class lived. Id. at 124–125.

        The Second Circuit rejected these claims and affirmed certification. First, it noted that

each state applied the Uniform Commercial Code, and therefore there would be minimal

variation between the states. Id. at 127 (“Here, they do not. As courts have noted, state contract

law defines breach consistently such that the question will usually be the same in all

jurisdictions.”). Second, the court “agree[d] with the district court that the question of breach

with regard to plaintiffs' contract claims will focus predominantly on common evidence to

determine whether, in fact, USF used controlled middlemen to inflate invoice prices and whether

such a practice departs from prevailing commercial standards of fair dealing so as to constitute a

breach.” Id. at 125. Ultimately, then, “[s]ince the record does not indicate the existence of

material differences in contract language or other significant individualized evidence, we



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conclude that the district court did not abuse its discretion in concluding that common issues will

predominate over any individual issues, and that USF's claim to the contrary should be rejected.”

Id. at 126.

        Similarly, here, the primary contention is that NAPG breached its consumer contract:

“Either Defendant breached the uniform language of its form consumer contract, or it did not.”

Pls. Suppl. Br. at 9, ECF No. 120. As the Court noted when it granted preliminary certification,

claims here would “focus predominately on common evidence” to determine whether NAPG was

liable and rest on breach of contract claims where there is not significant variation. In re U.S.

Foodservice Inc., 729 F.3d at 125.3

        A class action is also clearly superior here to individual actions. The individual claims are

too small to be brought absent the class action; they are the type of small claims that represent

the “very core of the class action mechanism . . . .” Amchem, 521 U.S. at 617. The common

evidence and question of law and fact also ensure that a class would be efficient and preserve

judicial resources, especially given is geographical scope and the number of individuals in the

class. In re Monster Worldwide, Inc. Sec. Litig., 251 F.R.D. 132, 139 (S.D.N.Y. 2008) (finding



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  The Court notes that Plaintiffs had asserted claims arising under state consumer protection
statutes, and the release in this case would release these claims, as well as under state laws where
there was no named plaintiff. The Second Circuit recently reversed certification of a class solely
based on state consumer protection laws because the court was “not convinced that the district
court here undertook the requisite considered analysis of the variations in state law and the
potential need for subclasses that might result from those variations. Langan v. Johnson &
Johnson Consumer Companies, Inc., No. 17-1605, 2018 WL 3542624, at *8 (2d Cir. July 24,
2018). Unlike the case here, Langan did not address breach of contract claims, and so In Re
Foodservice’s holding is more applicable here. Additionally, Langan addressed certification for
trial, rather than certification for settlement. It is well-settled that Plaintiffs may release that they
themselves could not bring. See TBK Partners, LTD. v. Western Union Corp., 675 F.2d 456, 460
(2d Cir. 1982) (“As long as the overall settlement is found to be fair and class members were
given sufficient notice and opportunity to object to the fairness of the release, we see no reason
why the judgment upon settlement cannot bar a claim that would have to be based on the
identical factual predicate as that underlying the claims in the settled class action.”).
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class action the superior method of adjudication where proposed class was large, geographical

dispersed, and the cost of pursuing individual litigation was not feasible).

       As a result, the class may be appropriately certified for settlement purposes under Rules

23(a) and (b)(3) of the Federal Rules of Civil Procedure. The Court grants Plaintiffs motion with

respect to the certification of the class for settlement purposes.

       B.      Approval of the Settlement Agreement

       Rule 23(e) of the Federal Rules of Civil Procedure requires that “the court may approve

[a settlement proposal] only after a hearing and on finding that it is fair, reasonable, and

adequate.” Courts often look to both procedural and substantive considerations in determining

whether a given settlement agreement is “fair, reasonable, and adequate.” Charron v. Pinnacle

Grp. N.Y. LLC, 874 F. Supp. 2d 179, 194 (S.D.N.Y. 2012).

       For procedural fairness, a presumption of fairness, adequacy and reasonableness “may

attach to a class settlement reached in arm's-length negotiations between experienced, capable

counsel after meaningful discovery.” Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 116

(2d Cir. 2005) (internal citations omitted).

       Here that presumption is met. The parties engaged in extensive settlement discussions in

this matter and its companion cases beginning in 2015, including multiple mediation and private

settlement attempts. See Pls. Mot. at 14. Counsel are qualified, with extensive class action

experience. See Izard, Kindall & Raabe LLP Firm Resume, Robert Izard Decl. Ex. A, ECF No.

130-2; Finkelstein, Blankinship, Frei-Pearson & Garber, LLP Firm Resume, Blankinship Decl.,

ECF No. 130-3. Finally, negotiations began — and continued — throughout extensive discovery,

which included depositions of fact and expert witnesses, expert reports, class certification




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motions and appeals of various aspects of the pending cases. See Pls. Mem. at 2. The

presumption of fairness therefore attaches.

       For substantive fairness, courts in the Second Circuit “examine the fairness, adequacy,

and reasonableness of a class settlement according to the ‘Grinnell factors.’” Wal-Mart, 396 F.3d

at 117. These nine factors include:

                    (1)   the complexity, expense and likely duration of the litigation;
                    (2)   the reaction of the class to the settlement;
                    (3)   the stage of the proceedings and the amount of discovery
                          completed;
                    (4)   the risks of establishing liability;
                    (5)   the risks of establishing damages;
                    (6)   the risks of maintaining the class action through the
                          trial;
                    (7)   the ability of the defendants to withstand a greater judgment;
                    (8)   the range of reasonableness of the settlement fund in light of
                          the best possible recovery;
                    (9)   the range of reasonableness of the settlement fund to a
                          possible recovery in light of all the attendant risks of
                          litigation.

Id. (citing City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974)).

       As addressed below, the Court finds that these factors weigh in favor of approving the

settlement agreement under Rule 23(e) of the Federal Rules.

               1.         Complexity, Expense, and Likely Duration of Litigation

       The first Grinnell factor requires the Court to consider the complexity, expense and likely

duration of the litigation. Wal-Mart, 396 F.3d at 117. “Most class actions are inherently complex

and settlement avoids the costs, delays and multitude of other problems associated with them”

and courts therefore favor class action settlements. In re Austrian & German Bank Holocaust

Litig., 80 F. Supp. 2d 164, 174 (S.D.N.Y. 2000), aff'd sub nom. D'Amato v. Deutsche Bank, 236

F.3d 78 (2d Cir. 2001).




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       Plaintiffs argue that the case is complex. The class includes all current and former NAPG

customers over a five-year period. In support of the claims, the parties have also spent extensive

time and money litigating the cases that the settlement would resolve. See, e.g. In re

PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104, 126 (S.D.N.Y.), aff'd sub nom. In re

PaineWebber Inc. Ltd. P’ships Litig., 117 F.3d 721 (2d Cir. 1997) (holding that first element of

Grinnell supports approval where parties had litigated for “nearly 1,000 days” and “consumed

large sums of money and many thousands of hours of labor.”). Plaintiffs’ counsel alone avers

that they have collectively spent 6,805.4 hours in litigating these cases. See Pls. Mem. at 29. That

figure “will only escalate” if the case went to trial and, ultimately any subsequent appeal. In re

PaineWebber Ltd., 171 F.R.D. at 126.

       As a result, the first Grinnell factors clearly supports approving the settlement.

               2.      Reaction of the Class to the Settlement

       “One of the factors most courts consider is the reaction of the absent class members,

specifically the quality and quantity of any objections and the quantity of class members who opt

out.” 4 Newberg on Class Actions § 13:54 (5th ed.). Courts may consider two reactions: opt-outs

and objections. Id. “If only a small number of objections are received, that fact can be viewed as

indicative of the adequacy of the settlement.” Wal-Mart, 396 F.3d at 118 (quoting 4 NEWBERG

§ 11.41).

       Here, there are no objections to the settlement, and only seventeen of the 491,126 class

members have opted out. See Pls. Status Report at 1–2, ECF No. 131. These figures strongly

support approving the settlement in this case. See Wal-Mart, 396 F.3d at 118 (noting eighteen

objections out of five million individuals notified of settlement and stating that “[i]f only a small

number of objections are received, that fact can be viewed as indicative of the adequacy of the



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settlement.”) (quoting 4 NEWBERG § 11.41); see also Sykes v. Harris, No. 09 Civ. 8486 (DC),

2016 WL 3030156, at *12 (S.D.N.Y. May 24, 2016) (approving settlement where “a miniscule

number” of plaintiffs — 38 individuals out of a potential 215,000 class members — requested

exclusions); Charron, 874 F. Supp. 2d at 197 (S.D.N.Y. 2012) (approving settlement where

“fewer than 1% of the tenants who received notice opted out of the lawsuit, and an even smaller

percentage objected.”).

               3.      The Stage of the Proceedings and the Amount of Discovery Completed

       As the Court noted at the preliminary approval stage, and as apparent from the procedural

history above, this case has been pending for a long time, and it has been subject to extensive

discovery in multiple fora. See, e.g., Pls. Mem. at 2 (noting discovery conducted). With several

different matters pending, the parties conducted fact and expert depositions, multiple class

certification motions, and summary judgment proceedings. Id. In this case alone, before

settlement, Plaintiffs moved for class certification. See Pls. Mot. Class Cert., ECF No. 82.

Defendant moved for summary judgment. Def. Mot. for Summ. J., ECF No. 105. In a related

action, Zahn v. North American Power & Gas, LLC, No. 14-cv-8370 (N.D. Ill., filed October 24,

2014), the parties appealed to the Seventh Circuit, which certified a question to the Illinois

Supreme Court. See Zahn v. N. Am. Power & Gas, LLC, 815 F.3d 1082, 1086 (7th Cir. 2017)

(certifying question about whether Illinois Commerce Commission possessed exclusive

jurisdiction over claim).

       In short, the parties “entered into settlement only after a thorough understanding of their

case.” Wal-Mart Stores, Inc., 396 F.3d at 118 (2d Cir. 2005). This factor weighs in favor of

approval. Accord Thompson v. Metro. Life Ins. Co., 216 F.R.D. 55, 62 (S.D.N.Y. 2003) (“With

respect to the third factor, defendant notes that the proposed settlement was reached after over a

year of hard fought litigation, in which some 450,000 pages of documents were produced, 31
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depositions, including 22 current or former representatives of Metropolitan, were taken, and

motions for summary judgment and class certification had been considered.”).

               4.      The Risks of Establishing Liability and Damages

       Plaintiffs argue “Defendant has raised several arguments that, if accepted by the Court or

jury, would undermine or eliminate Plaintiffs’ claims. See Pls. Mem. at 20–21. Defendant argues

that it adequately disclosed its rates, and that long-time customers should have been aware of the

rates at issue. Id. Additionally, as evidenced by its summary judgment briefing, NAPG has

contested Plaintiffs’ expert claim and damages model. Id. at 21; see also Defs. Mem. in Supp.,

ECF No. 107. Plaintiffs note Richards v. Direct Energy Servs., LLC, 246 F. Supp. 3d 538, 542–

43 (D. Conn. 2017), where this Court granted summary judgment in a putative class action

related to utility rates. Plaintiffs argue, while they dispute the relevance of Richards’ holding to

the case at hand, “the fact remains that Plaintiffs and the Class face the substantial risk of

recovering nothing but for the Settlement.” Pls. Mem. at 21 (emphasis in original).

       The Court credits these arguments. Without addressing the merits of the summary

judgment briefing, the Court notes “litigation inherently involves risk.” In re Painewebber Ltd.

P'ships Litig., 171 F.R.D. 104, 126 (S.D.N.Y.1997). The proof in this case is also heavily

dependent on expert testimony in relation to complex subject matter. This consideration “always

adds an element of uncertainty as to the outcome.” Thompson, 216 F.R.D. at 63. Factors four and

five of the Grinnell test therefore weigh in favor of approving the settlement.

               5.      The Risks of Maintaining the Class Action Through Trial

       “One of the factors most courts consider is how certain the court is that the class

certification requirements are met and maintainable.” 4 Newberg on Class Actions § 13:51. This




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consideration is separate, although related, to the Court’s determination above that the class

should be certified for settlement purposes. Id.

        Plaintiffs point to NAPG’s arguments that “purported differences between individual

contracts, state laws, and purchaser geographies and rate experiences create individual issues that

predominate over class-wide issues.” Pls. Mem. at 22. Plaintiffs may dispute this argument, but

they note here that it poses significant risk to maintaining a class through trial.

        Additionally, the Court notes that the class definition here sweeps beyond the claims that

were pending in this case. It is possible that — while the Court has determined that the claims

are appropriate for certification and, ultimately, for release here — the same claims might not be

maintained at trial because of manageability concerns. Cf. In re Warfarin Sodium Antitrust

Litig., 391 F.3d 516, 537 (3d Cir. 2004) (“Although Appellants' concerns about the

manageability of a multistate class of consumers and TPPs, as we discussed above, did not pose

a problem for the certification of a settlement class, there is a significant risk that such a class

would create intractable management problems if it were to become a litigation class, and

therefore be decertified.”).

                6.      NAPG’s Ability to Withstand a Greater Judgment

        The parties have continually noted that they felt there are “substantial concerns that

NAPG could bear the enormously large statutory and compensatory damages award that could

be assessed were the cases to proceed through trial.” Pls. Mem. at 21–22. This information has

not been put before the Court.

        The Court notes, however, that this factor “standing alone, does not suggest that the

settlement is unfair,” especially where the “other Grinnell factors weigh heavily in favor of

settlement . . . .” D'Amato v. Deutsche Bank, 236 F.3d 78, 86 (2d Cir. 2001). Therefore, given the



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application of the other Grinnell factors in this case, the Court does not need to look to whether

NAPG truly could have withstood a larger judgment. The Court may still approve the settlement

agreement. Accord Kemp-DeLisser, 2016 WL 6542707, at *10 (“Thus, even if the Defendants

here could afford to pay more than the $107 million Settlement Amount, this does not prevent

the Court from approving this Settlement as fair and reasonable.”).

               7.      The Range of Reasonableness of the Settlement Fund

       The final Grinnell factors require examination of the “range of reasonableness” of the

settlement fund “in light of the best possible recovery” and “in light of all the attendant risks of

litigation.” Wal-Mart Stores, Inc., 396 F.3d at 117. A court should “consider and weigh the

nature of the claim, the possible defenses, the situation of the parties, and the exercise of

business judgment in determining whether the proposed settlement is reasonable.” Grinnell, 495

F.2d at 462.

       Plaintiffs summarize the settlement’s value for claimants as of June 8, 2018. See Pls.

Mem. at 18. A total of 16,890 claims have been submitted and the average claimant will receive

$50:

              Approximately 4,700 will receive between $2.00 and $9.99;

              Approximately 4,500 will receive between $10.00 and $29.99;

              Approximately 2,900 will receive between $30.00 and $49.99;

              Approximately 2,400 class members will receive over $100; and,

              Approximately 200 class members will receive over $300.

Id.

       Plaintiffs also note that their expert calculated that the maximum damage was $.015 per

kilowatt hour for electric supply service, although NAPG continues to contest this figure. Pls.


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Mem. at 17–19. The final settlement amount awarded Plaintiffs $0.00351 per kilowatt hour for

electric supply service. Given this calculation, which was contested, the settlement figure

represents approximately 23 per cent of the maximum recovery. Id. at 17. Courts have regularly

considered such recoveries appropriate. In re Initial Pub. Offering Sec. Litig., 671 F. Supp. 2d

467, 484 (S.D.N.Y. 2009) (approving settlement that represented two percent of plaintiffs’

damages expert’s calculation); In re Interpublic Sec. Litig., No. 02 Civ.6527 (DLC), 2004 WL

2397190, at *8 (S.D.N.Y. Oct. 26, 2004) (“Therefore, while the Gross Settlement Fund reflects

only ten to twenty percent of lead plaintiff's aggressive damages estimate, the securities

settlement sits comfortably within the range of reasonableness.”).

       As a result, the Grinnell factors — taken as a whole — support finding the settlement

substantively fair, reasonable, and adequate. The Court grants Plaintiffs motion to the extent it

seeks final approval of the settlement agreement.

       C.      Service Awards, Attorneys’ Fees and Costs

       There remain two outstanding questions of compensation. First, the named Plaintiffs seek

an award of $5,000 each as an enhancement. See Pls. Mem. at 37–39. Second, class counsel

seeks approval of an award of $3,154,805.12 in attorneys’ fees and $474,194.88 for expenses. Id.

at 24-37. The Court will approve these requests.

               1.      Named Plaintiff Enhancement Awards

       Plaintiffs seek an award of $5,000 in service awards. Pls. Mem. at 37. They argue that,

under the Settlement Agreement, “NAPG has agreed to pay these awards using its own

resources, which means, as with Class Counsel’s request for attorneys’ fees, these payments will

not reduce the benefits provided to Class Members.” Id.




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       “Service awards are common in class action cases and serve to compensate plaintiffs for

the time and effort expended in assisting the prosecution of the litigation, the risks incurred by

becoming and continuing as a litigant, and any other burdens sustained by the plaintiffs.”

Beckman v. KeyBank, N.A., 293 F.R.D. 467, 483 (S.D.N.Y. 2013) (affirming service awards of

$7,500 and $5,000, to be paid from settlement fund, for named plaintiffs in putative wage and

hour class action). Courts in the Second Circuit have approved a wide range of incentive awards.

See, e.g., Karic v. Major Auto. Cos., Inc., No. 09 CV 5708 (CLP), 2016 WL 1745037, at *8

(E.D.N.Y. Apr. 27, 2016) (collecting cases in wage and hour class action, and noting awards

between $10,000 and $40,000).

       Here, Plaintiffs have remained active in the case, providing advice to counsel and

participating in settlement and mediation discussions. See Izard Decl. ¶ 12. A service award of

$5,000 in recognition of their time and efforts, and in light of the overall settlement, is warranted.

See Gross v. Washington Mut. Bank, F.A., No. 02 CV 4135 (RML), 2006 WL 318814, at *6

(E.D.N.Y. Feb. 9, 2006) (approving $5,000 fee in Fair Debt Collection Practices Act case

because “[t]his award is consistent with the range of awards made in favor of class

representatives in similar cases.”); see also Dornberger v. Metro. Life Ins. Co., 203 F.R.D. 118,

124 (S.D.N.Y.2001) (approving award of $10,000 for named plaintiff involved in a multi-million

dollar settlement).

               2.      Attorneys’ Fees

       Plaintiffs seek approval for $3,154,805.12 in attorneys’ fees. Pls. Mem. at 29. The notice

sent to class provided for a maximum award of fees and expenses, including any service award

to named plaintiffs, of $3,669,000. Id. at 36. Plaintiffs note that the attorneys’ fees portion of this

award would represent 16 per cent of the total value of the settlement, and argue that this is



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reasonable, “especially given the complexity and novelty of the case, the attendant litigation

risks, and the effort Class Counsel expended to reach the Settlement . . . .” Id. at 30–31. They

therefore argue approval of the fee, as a percentage of the overall class fund, is warranted.

        Courts may approve fees in common fund cases under of one of two calculations: either a

“percentage of the fund” method or a “lodestar” method. Wal-Mart Stores, Inc., 396 F.3d at 121;

see also McDaniel v. Cty. of Schenectady, 595 F.3d 411, 417 (2d Cir. 2010) (“[I]t remains the

law in this Circuit that courts may award attorneys' fees in common fund cases under either the

‘lodestar’ method or the ‘percentage of the fund’ method.”). As this Court has previously noted,

however, “[m]any courts in the Second Circuit favor the percentage of fund method for awarding

attorneys' fees in class action settlements.” Kemp-DeLisser, 2016 WL 6542707, at *15 (citing

Wal-Mart Stores, Inc., 396 F.3d at 121).

        Potential fee awards are examined under the Goldberg factors. Wal-Mart Stores, Inc. 396

F.3d at 121–122 (citing Goldberger v. Integrated Resource, Inc. et al, 209 F.3d 43, 50 (2d Cir.

2000)). The six factors include: “(1) the time and labor expended by counsel; (2) the magnitude

and complexities of the litigation; (3) the risk of the litigation . . . ; (4) the quality of

representation; (5) the requested fee in relation to the settlement; and (6) public policy

considerations.” Wal-Mart Stores, Inc., 396 F.3d at 121. The Goldberger factors support the

reasonableness of the fee in this matter.

        First, counsel has litigated the Edwards action for nearly four years, and the settlement

represents the effort of multiple cases elsewhere. According to documentation submitted in

connection with their motions, Plaintiffs’ counsel represents that they have spent a total of

6,805.4 hours of attorney time. See Pls. Mem. at 29 (citing documentary evidence of hours

spent). This factor weighs in favor of the proposed fee award.



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       Second, as addressed in the Court’s discussion of class certification and approval of the

terms of the settlement above, the case presents a large settlement class and a multi-million

dollar fund, relying primarily on expert evidence to address a complex theory of liability. See,

e.g., Pls. Mem. at 32 (“The magnitude and complexity of this action is even greater because of

the multiple states in which NAPG is operating, differences in state law, the differencing

contracts that NAPG used in each state and over time, and the prevailing electric and gas rates

over time.”). The Court credits this argument, and holds the second factor weighs in favor of the

proposed fee.

       Third, the Court must consider the risk of the litigation. As addressed above when

considering the fairness of the settlement, there was significant risk in litigating these cases. The

proof relied primarily on expert testimony, which often increases the risk that a jury may not find

liability or would limit damages. Thompson, 216 F.R.D. at 63 (noting that relying on expert

testimony “always adds an element of uncertainty as to the outcome.”). It is also possible, as

addressed above, that the class would present manageability concerns that absent settlement

might have undermined the class action. Cf. Langan v. Johnson & Johnson Consumer Cos., Inc.,

No. 17-1605, 2018 WL 3542624, at *8 (2d Cir. July 24, 2018) (“We are not convinced that the

district court here undertook the requisite considered analysis of the variations in state law and

the potential need for subclasses that might result from those variations.”). Given these risks, the

third Golberg factor counsels in favor of approval.

       Fourth, the Court must consider the quality of counsel. As this Court has previously

noted, “Class Counsel in this case is comprised of attorneys and law firms that are national

leaders in class action litigation . . . .” Kemp-DeLisser, 2016 WL 6542707, at *16. Additionally,

“the quality of representation is best measured by results, and that such results may be calculated



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by comparing the extent of possible recovery with the amount of actual verdict or settlement.”

Goldberger, 209 F.3d at 55. Here, Plaintiffs’ counsel secured a significant settlement for a large

class of individuals, with a total cash value of $16,053,000. See Pls. Mem. at 32.

       The fifth Goldberg factor requires consideration of the “the requested fee in relation to

the settlement.” Goldberger, 209 F.3d at 50. In determining the total value of the settlement,

courts generally consider the full value of the fund, not only the funds claimed, and the total

amount of both the potential attorneys’ fees and the sum made available to the class. See, e.g.,

Masters v. Wilhelmina Model Agency, Inc., 473 F.3d 423, 437 (2d Cir. 2007) (“The entire Fund,

and not some portion thereof, is created through the efforts of counsel at the instigation of the

entire class. An allocation of fees by percentage should therefore be awarded on the basis of the

total funds made available, whether claimed or not. We side with the circuits that take this

approach.”); Kiefer v. Moran Foods, LLC, No. 12-CV-756 (WGY), 2014 WL 3882504, at *8 (D.

Conn. Aug. 5, 2014) (“In applying the common fund method, the Supreme Court, the Second

Circuit, and other Circuit Courts have held that it is appropriate to award attorneys' fees as a

percentage of the entire maximum gross settlement fund, even where amounts to be paid to

settlement class members who do not file claims will revert to the Defendants.”); Torres v.

Gristede's Operating Corp., 519 F. App'x 1, 5 (2d Cir. 2013) (calculating total award as inclusive

of attorneys’ fees and costs).

       Here, the total value of the settlement — fees, costs, and potential value for class

members — equals $19,722,000. See Pls. Mem. at 29. The attorney fee award would thus

represent 16 per cent of the total award or 19.7 per cent of the $16,053,000 payments available to

the class. Id. This figure is significantly lower than the percentages regularly awarded within the

Second Circuit. See In re Sumitomo Copper Litigation, 146 F. Supp. 2d 436 (S.D.N.Y. 2001)



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(awarding approximately one-third of settlement as attorney fee award in commodities case);

Strougo ex rel. Brazilian Equity Fund, Inc. v. Bassini, 258 F. Supp. 2d 254, 262 (S.D.N.Y. 2003)

(approving fee award of one-third in securities class action); see also Frank v. Eastman Kodak

Co., 228 F.R.D. 174, 189 (W.D.N.Y. 2005) (approving of fee award at 40% of the settlement

fund); In re Colgate-Palmolive Co. ERISA Litig., 36 F. Supp. 3d 344, 351 (S.D.N.Y. 2014)

(noting median fee of 25 to 28 per cent of the fund in ERISA cases).

       Finally, the sixth Goldberg factor requires the Court to consider the public policy

implications of the proposed fee. “There is also commendable sentiment in favor of providing

lawyers with sufficient incentive to bring common fund cases that serve the public interest.”

Goldberger, 209 F.3d at 51. Here, the class action was necessary given the range of relief that

was available to individual class members. Without adequate counsel — and appropriate

incentives for that counsel — this case might not have been brought. Class Counsel's fees

“should reflect the important public policy goal of providing lawyers with sufficient incentive to

bring common fund cases that serve the public interest.” Colgate-Palmolive, 36 F. Supp. 3d at

352 (discussing ERISA class action) (internal quotation marks and citations omitted). Public

policy certainly supports providing that incentive, absent a windfall, in this case the sixth factor

supports approving the fee structure in this case.

       As a result, the Court determines that the Plaintiffs’ fee award of $3,154,805.12 in

attorneys’ fees is reasonable.

               3.      Fee Request

       Rule 23(h) of the Federal Rules of Civil Procedure provides for the award of “nontaxable

costs authorized by law or by the parties’ agreement. Here, Plaintiffs seek $474,194.88 in costs,

which they argue were “reasonable and necessary to the prosecution of these actions” and are



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typical of the costs usually billed to clients. See Pls. Mem. at 36. These fees include expenses

related to experts, court fees, copying, research and discovery, transcripts, travel, and other costs

associated with litigation. See Izard Decl. ¶ 17; Blankinship Decl. ¶ 22; Mendelsohn Decl. ¶ 21;

Schelkpf Dec. ¶ 21.

       “Courts may reimburse counsel for expenses reasonably and necessarily incurred in

litigating a class action.” Kemp-DeLisser, 2016 WL 6542707, at *18 (D. Conn. Nov. 3, 2016);

see also In re Marsh ERISA Litig., 265 F.R.D. 128, 150 (S.D.N.Y. 2010) (“It is well-established

that counsel who create a common fund like this one are entitled to the reimbursement of

litigation costs and expenses.”).

       The costs here are reasonable and accrued during the course of litigation. The Court will

therefore grant Plaintiffs’ motion with respect to the award of $474,195.88 in costs.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion for Final Approval of the Class Action

Settlement, ECF NO. 130 is GRANTED.

       Furthermore, IT IS HERBY ORDERED AND ADJUDGED AS FOLLOWS:

       1.      For purposes of this Final Judgment and Order of Dismissal (“Judgment”), the

               Court adopts all defined terms as set forth in the Settlement Agreement filed in

               this case.

       2.      The Court has jurisdiction over the subject matter of the litigation, the

               Representative Plaintiffs, the Class Members, and the Released Persons (“the

               Settling Parties”).

       3.      With respect to the Settlement Class and for purposes of approving this

               Settlement only, this Court finds as to the Settlement Class that the requirements



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     of Rule 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure have been met

     in this case.

4.   Under Rule 23 of the Federal Rules of Civil Procedure, and for purposes of, and

     solely in connection with, the Settlement, the Court certifies this action as a class

     action on behalf of the following Settlement Class:

             All persons who, at any time from February 20, 2012 to June
             5, 2017 were customers of NAPG and paid NAPG variable
             rates for electricity and/or natural gas in Connecticut,
             Illinois, Maryland, Maine, New Hampshire, New Jersey,
             Ohio, Pennsylvania, Rhode Island, Georgia or Texas.

5.   The Parties have complied fully with the notice provisions of the Class Action

     Fairness Act of 2005, 28 U.S.C. § 1715.

6.   Based on evidence and other material submitted in conjunction with the Final

     Approval Hearing, the Court hereby finds and concludes that (1) the Short Form

     Notice was disseminated to members of the Settlement Class in accordance with

     the Settlement Agreement and the Court’s Preliminary Approval Order, and (2)

     the Long Form Notice, the Claim Form, and the Settlement Website complied

     with this Court’s Preliminary Approval Order.

7.   The Court finds and concludes that the Short Form Notice, the Long Form Notice,

     the Claim Form, the Settlement Website, and all other aspects of the notice, opt-

     out and claims submission procedures set forth in the Settlement Agreement fully

     satisfy Rule 23 of the Federal Rules of Civil Procedure and the requirements of

     due process, were the best notice practicable under the circumstances, and support

     the Court’s exercise of jurisdiction over the Settlement Class and the Settlement

     Class Members.



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8.   Seventeen persons who fall within the definition of the Settlement Class have

     requested to opt out of the Settlement and have complied with the procedures

     established by the Settlement Agreement and this Court. These individuals will

     not be bound by the terms of the Settlement Agreement:

                    1.     SHAKELIA SUMRELL

                    2.     ROSALIND TOBIN

                    3.     RICHARD DALOE

                    4.     PHYLLIS KOLENDA

                    5.     DARRELL GREENE JR

                    6.     NERWYN WHYNOT

                    7.     JERRY L ROWE

                    8.     GEORGE E CHENIER JR

                    9.     ROBERT WEIR

                    10.    JAMA ROTHSCHILD

                    11.    REGINALD J WILLIAMS

                    12.    ALDEN R WITT

                    13.    ROBERT W NEFF

                    14.    GEORGE P TAYLOR

                    15.    TAMMY HELD

                    16.    TERESA MAROIS

                    17.    JOANNE COSTABILE

9.   The Court finds that the Settlement Agreement is the product of arm’s length

     settlement negotiations between the Settling Parties.



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10.   The Court finds and concludes that the Settlement is fair, reasonable, and

      adequate and should be approved.

11.   The Court hereby approves the Settlement (as set forth in the Settlement

      Agreement), the Releases, and all other terms in the Settlement Agreement, as

      fair, just, reasonable and adequate as to the Settling Parties. The Parties are

      directed to perform in accordance with the terms set forth in the Settlement

      Agreement. However, without seeking further Court approval, the Settling Parties

      may jointly agree to make changes to the Settlement Agreement, including to the

      manner in which the claims process shall be administered, provided that those

      changes do not reduce the benefits to which Settlement Class Members may be

      entitled, increase the burden on Settlement Class Members in making a Claim, or

      otherwise materially alter the Settling Parties’ obligations under the Settlement

      and the Settlement Agreement.

12.   By this Judgment, the Releasing Parties shall be deemed to have (and by

      operation of the Judgment shall have) fully finally, and forever released,

      relinquished and discharged all Released Claims against the Released Persons.

13.   This action is dismissed with prejudice. The Settling Parties are to bear their own

      attorney’s fees and costs, except as otherwise expressly provided in the Settlement

      Agreement and in this Judgment.

14.   Neither the Settlement Agreement, nor any act performed or document executed

      under or in furtherance of the settlement: (i) is or may be deemed to be or may be

      used as an admission of, or evidence of, the validity of any Released Claim, or of

      any wrongdoing or liability of the Released Persons; or (ii) is or may be deemed



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      to be or may be used as an admission of, or evidence of, any fault or omission of

      the Released Persons in any civil, criminal or administrative proceeding in any

      court, administrative agency or other tribunal. The Released Persons may file the

      Settlement Agreement and/or the Judgment from this litigation in any other action

      that may be brought against them in order to support a defense or counterclaim

      based on principles of res judicata, collateral estoppel, release, good faith

      settlement, judgment bar or reduction or any theory of claim preclusion or issue

      preclusion or similar defense or counterclaim.

15.   If for any reason the Effective Date does not occur, then (1) the certification of the

      Settlement Class shall be deemed vacated, (2) the certification of the Settlement

      Class for settlement purposes shall not be considered as a factor in connection

      with any subsequent class certification issues, and (3) the Settling Parties shall

      return to the status quo ante in the litigation as it existed on March 30, 2018,

      without prejudice to the right of any of the Settling Parties to assert any right or

      position that could have been asserted, if the Settlement had never been reached

      or proposed to the Court.

16.   Plaintiffs have requested $3,154,805.12 in attorneys’ fees for Class Counsel.

      Upon consideration of Plaintiffs’ Motion for an Award of Fees, the Motion is

      GRANTED. Consistent with Section 7.5 of the Settlement Agreement,

      Defendants shall pay Class Counsel $3,154,805.12 in attorneys’ fees, consistent

      with the terms of the Settlement Agreement. Under the Settlement Agreement,

      this award shall be paid separate and apart from the amounts received by

      members of the Settling Class.



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17.   Plaintiffs have requested $474,194.88 in expenses for Class Counsel. Upon

      consideration of Plaintiffs’ Motion for an Award of Expenses, the Motion is

      GRANTED. Consistent with Section 7.5 of the Settlement Agreement,

      Defendants shall pay Class Counsel $474,194.88 in expenses, consistent with the

      terms of the Settlement Agreement. Per the Settlement Agreement, this award

      shall be paid separate and apart from the amounts received by members of the

      Settling Class.

18.   Plaintiffs have requested $5,000 each as Plaintiff Service Awards. Upon

      consideration of Plaintiffs’ request for Plaintiff Service Awards, the request is

      GRANTED. Consistent with the terms of Section 7.5 of the Settlement

      Agreement, Defendant shall pay Paul Edwards, Gerry Wendrovsky, Sandra

      Desrosiers, Linda Soffron, John Arcaro, Michael Tully, David Fritz and Peggy

      Zahn a Service Award in the amount of $5,000 each. Per the Settlement

      Agreement, these Service Awards shall be paid separate and apart from the

      amounts received by members of the Settling Class.

19.   Within 120 days from the Effective Date, the Settlement Administrator shall

      destroy all personally identifying information about any Class Member in its

      possession, custody, or control, including (but not limited to) any list that the

      Settlement Administrator received from Defendant in connection with the

      Settlement Administrator’s efforts to provide Notice to Class Members.

20.   Each and every Class Member, and any Person actually or purportedly acting on

      behalf of any Class Member, is hereby permanently barred and enjoined from

      commencing, instituting, continuing, pursuing, maintaining, prosecuting, or



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       enforcing any Released Claims (including, without limitation, in any individual,

       class or putative class, representative or other action or proceeding), directly or

       indirectly, in any judicial, administrative, arbitral, or other forum, against the

       Released Persons. This permanent bar and injunction is necessary to protect and

       effectuate the Settlement Agreement, this Final Judgment, and this Court’s

       authority to effectuate the Settlement Agreement, and is ordered in aid of this

       Court’s jurisdiction and to protect its judgments.

21.    This document is a final, appealable order, and shall constitute a judgment for

       purposes of Rules 54 and 58 of the Federal Rules of Civil Procedure. By

       incorporating the Settlement Agreement’s terms herein, the Court determines that

       this Final Judgment complies in all respect with Federal Rule of Civil Procedure

       65(d)(1).

The Clerk of the Court is hereby directed to close this case.

SO ORDERED this 3rd day of August, 2018, in Bridgeport, Connecticut.

                                              /s/ Victor A. Bolden
                                              VICTOR A. BOLDEN
                                              UNITED STATES DISTRICT JUDGE




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